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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  CITIZENS UNITED,

                          Plaintiff,

                  v.                                      Civ. A. No. 21-2833 (ABJ)

  U.S. DEPARTMENT OF DEFENSE,

                          Defendant.



                                       JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order dated January 13, 2022, Defendant Department of

Defense (“DOD”) files this report, as an alternative to a dispositive motion, to set forth the schedule

for the completion of its production of documents to Plaintiff. The parties have conferred and

submit the following status report:

       This Freedom of Information Act (“FOIA”) action seeks certain communications made and

received by a host of senior DOD officials between January 20, 2021, and March 29, 2021. Compl.

¶ 7, ECF No. 1. Defendant DOD has already identified approximately 1,755 pages of potentially

responsive documents and continues to search for additional records responsive to Plaintiff’s

request. DOD will have a better sense of when its search for responsive records will be completed

before the parties’ next Joint Status Report.

       The parties therefore respectfully propose that they file a further joint status report on or

before April 11, 2022, and then every 60 days thereafter to update the Court on the progress of

DOD’s search, processing, and a proposed schedule for filing a Vaughn index and dispositive

motions, if required.
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Dated: February 10, 2022            Respectfully submitted,
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                                    United States Attorney

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                                    Acting Chief, Civil Division

                              By:   /s/ Erika Oblea
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